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  From:           giddings.daniel@epa.gov
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  Subject:        Re: Freedom of Information Act Request No. EPA-2023-005099
  Date:           Tuesday, July 25, 2023 8:10:23 AM
  Attachments:    EPA-2023-005099 Initial Response Letter- St. John .pdf
                  Request Clarification Letter.pdf


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